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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )             8:06CR271
                      Plaintiff,                   )
                                                   )           REPORT AND
       vs.                                         )
                                                   )       RECOMMENDATION
ROSA MARIE FLORES-TAPIA,                           )
                                                   )        ON GUILTY PLEA
                      Defendant.                   )


       On January 30, 2007 and February 5, 2007, defendant Rosa Marie Flores-Tapia
(Flores-Tapia), together with her counsel, Julie A. Frank, appeared before the undersigned
magistrate judge. Christina Kropf and Monica Desiderio, certified interpreters in the
Spanish language, served as the interpreters by remote telephone hook-up. Flores-Tapia
was advised of the charges, the penalties and the right to appear before a United States
District Judge. After orally consenting to proceed before a magistrate judge, Flores-Tapia
entered a plea of guilty to Counts I and II of the Indictment.
       After being sworn, Flores-Tapia was orally examined by the undersigned magistrate
judge in open court as required by Federal Rule of Criminal Procedure 11. Flores-Tapia
also was given the advice required by that Rule. Finally, Flores-Tapia was given a full
opportunity to address the court and ask questions.
       Counsel for the government and counsel for Flores-Tapia were given the opportunity
to suggest additional questions by the court. Moreover, both counsel orally certified that
they were of the opinion that the plea was knowing, intelligent and voluntary, and that there
was a factual basis for Flores-Tapia’s plea of guilty to Counts I and II of the Indictment.
       Therefore, I find and conclude that: (1) the pleas are knowing, intelligent, and
voluntary; (2) there is a factual basis for the pleas; (3) the provisions of Rule 11 and any
other provisions of the law governing the submission of guilty pleas have been complied
with; (4) a petition to enter a plea of guilty, on a form approved by the court, was completed
by Flores-Tapia, Flores-Tapia’s counsel and counsel for the government, and such petition
was placed in the court file (Filing No. 102); (5) the plea agreement is in writing and is filed
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in the court file (Filing No. 103); (6) there were no other agreements or stipulations other
than as contained in the written plea agreement.


       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.     She accept the guilty plea and find the defendant, Rosa Marie Flores-Tapia,
guilty of the crimes set forth in Counts I and II of the Indictment to which Flores-Tapia
tendered a guilty plea;
       2.     She accept the written plea agreement with the understanding that the court
is not bound by the parties’ stipulations, but may with the aid of the presentence report,
determine the facts relevant to sentencing.


                                       ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       DATED this 5th day of February, 2007.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge




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